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8                        UNITED STATES DISTRICT COURT
9                      SOUTHERN DISTRICT OF CALIFORNIA
10
11   MICHAEL STEDNITZ, an                   Case No.:   '16CV0858 BAS DHB
     individual,
12                                          COMPLAINT FOR DAMAGES
13                Plaintiff,                AND INJUNCTIVE RELIEF FOR
                                            VIOLATIONS OF:
14
                                            1.) THE FAIR CREDIT
15                    v.                        REPORTING ACT, 15 U.S.C. §
                                                1681, ET SEQ.;
16
                                            2.) THE CONSUMER CREDIT
17   BANK OF AMERICA, NA.; and                  REPORTING AGENCIES ACT,
     CHEX SYSTEMS, INC.                         CAL. CIV. CODE § 1785.25, ET
18                                              SEQ.;

19                                          3.) INTENTIONAL
                  Defendants.                   INTERFERENCE WITH
20                                              CONTRACTUAL RELATIONS;
                                            4.) INTENTIONAL
21                                              INTERFERENCE WITH
                                                PROSPECTIVE ECONOMIC
22                                              RELATIONS.
23
24                                          JURY TRIAL DEMANDED

25
26
27
28

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1                                        INTRODUCTION
2    1.    The United States Congress enacted the Fair Credit Reporting Act (“FCRA”)
3          to ensure fair and accurate credit reporting, promote efficiency, and protect
4          consumers’ privacy. “As an important means to this end, the Act sought to
5          make ‘consumer reporting agencies exercise their grave responsibilities [in
6          assembling and evaluating consumers' credit, and disseminating information
7          about consumers' credit] with fairness, impartiality, and a respect for the
8          consumer's right to privacy.’ 15 U.S.C. § 1681(a)(4). In addition, to ensure
9          that credit reports are accurate, the FCRA imposes some duties on the sources
10         that provide credit information to CRAs, called ‘furnishers’ in the statute.”
11         Gorman v. Wolpoff & Abramson, LLP, 584 F.3d 1147, 1153 (9th Cir. 2009).
12   2.    The California legislature enacted the Consumer Credit Reporting Agencies
13         Act in response to the “vital role” credit reporting agencies have assumed in
14         assembling and evaluating consumer credit information and to require those
15         who furnish information on consumers’ credit do so “in a manner which is fair
16         and equitable to the consumer.” Cal. Civ. Code § 1785.1.
17   3.    Plaintiff, MICHAEL STEDNITZ (“Plaintiff”), brings this lawsuit to challenge
18         the actions of Defendants, BANK OF AMERICA. NA., (“BANK OF
19         AMERICA”)        and    CHEX      SYSTEMS,        INC,        (“CHEX    SYSTEMS”)
20         (collectively as “Defendants”),          regarding Defendants’ furnishing of
21         incomplete and inaccurate information to a consumer credit reporting agencies
22         and Defendants’ failure to investigate Plaintiff’s credit disputes.
23   4.    Plaintiff alleges as follows upon personal knowledge as to Plaintiff’s own acts
24         and experiences, and, as to all other matters, upon information and belief,
25         including investigation conducted by Plaintiff’s attorney.
26   5.    While many violations are described below with specificity, this Complaint
27         alleges violations of the statutes cited in their entirety.
28   ///


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1    6.    Unless otherwise stated, Plaintiff alleges that any violations by Defendants
2          were knowing and intentional, and that Defendants did not maintain
3          procedures reasonably adapted to avoid such violations.
4    7.    Unless otherwise indicated, the use of any Defendants’ name in this
5          Complaint includes all agents, employees, officers, members, directors, heirs,
6          successors, assigns, principals, trustees, sureties, subrogees, representatives,
7          and insurers of Defendants.
8    8.    Unless otherwise stated, all the conduct engaged in by Defendants occurred in
9          the State of California.
10   9.    At all times relevant, Plaintiff was an individual residing within the State of
11         California.
12   10. All correspondence from Defendants was sent to Plaintiff at an address
13         located within the State of California.
14                               JURISDICTION AND VENUE
15   11. This action arises out of Defendants’ violations of: (i) The Fair Credit
16         Reporting Act (“FCRA”) 15 § U.S.C. § 1681, et seq.; and (ii) The California
17         Consumer Credit Reporting Agencies Act, (“CCRAA”) Cal. Civ. Code §
18         1785, et seq.
19   12. Jurisdiction of this Court therefore arises pursuant to 28 U.S.C. § 1331, 15
20         U.S.C. § 1681p and 28 U.S.C. § 1367 for supplemental state law claims.
21   13. The Court has personal jurisdiction over Defendants as Defendants conduct
22         business within the State of California and have purposefully availed
23         themselves of the laws and markets of the State of California and this district.
24   14. Venue is proper in the United States District Court, Southern District of
25         California pursuant to 28 U.S.C. § 1391 as: (i) Plaintiff resides in the County
26         of San Diego, State of California, which is within this judicial district; and (ii)
27         the conduct complained of herein occurred within this judicial district.
28   ///


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1                                           PARTIES
2    15. Plaintiff, MICHAEL STEDNITZ (“Plaintiff”), is a natural person who resides
3         in the City of El Cajon, County of San Diego, State of California. Plaintiff is a
4         “consumer” as that term is defined by Cal. Civ. Code § 1785.3(b) and 15
5         U.S.C. § 1681a(c).
6    16. Defendant, BANK OF AMERICA, NA. (“BANK OF AMERICA”) is a
7         business organization, form presently unknown, doing business in the State of
8         California and County of San Diego.
9    17. BANK OF AMERICA in the ordinary course of business, regularly, and on a
10        routine basis, furnishes information to one or more consumer credit reporting
11        agencies about transactions or experiences with consumers.
12   18. BANK OF AMERICA is a partnership, corporation, association, or other
13        entity, and is therefore a “person” as that term is defined by Cal. Civ. Code §
14        1785.3(j) and 15 U.S.C. § 1681a(b).
15   19. Defendant, CHEX SYSTEMS, INC. (“CHEX SYSTEMS”), is a Minnesota
16        corporation with a principle place of business in Woodbury, Minnesota.
17   20. CHEX SYSTEMS regularly engages in the business of assembling,
18        evaluating, and disbursing information concerning consumers for the purpose
19        of furnishing consumer reports and is a “consumer reporting agency” as
20        defined by 15 U.S.C. § 1681a(f) and Cal. Civ. Code § 1785.3(d).
21   21. The causes of action stated herein also pertain to Plaintiff’s “consumer credit
22        report” as that term is defined by Cal. Civ. Code § 1785.3(c) and 15 U.S.C. §
23        1681a(d), in that inaccurate and/or incomplete credit information was
24        furnished by BANK OF AMERICA to CHEX SYSTEMS, regarding specific
25        transactions and/or experiences pertaining to Plaintiff and Plaintiff’s credit
26        worthiness, credit standing, and/or credit capacity. Such credit information
27        was used or was expected to be used, or collected in whole or in part, for the
28        purposes of serving as a factor in establishing Plaintiff’s eligibility for, among


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1          other things, credit to be used primarily for personal, family, household and
2          employment purposes.
3                                 FACTUAL ALLEGATIONS
4    22. Sometime in March of 2010, Plaintiff noticed an irregularity with his BANK
5          OF AMERICA checking account. For reasons unknown to Plaintiff, his
6          account balance inexplicably began showing as $888,888.88.
7    23. At the time Plaintiff had only a few thousand dollars in his bank account.
8          Plaintiff assumed someone erroneously deposited money in his account; or
9          alternatively, given the extremely odd account balance, Plaintiff assumed
10         there was some sort of accounting error or computer glitch.
11   24. Plaintiff promptly reported the issue to BANK OF AMERICA.
12   25. Plaintiff informed BANK OF AMERICA of what he believed was an
13         accounting error and BANK OF AMERICA stated they would investigate.
14   26. Shortly thereafter, Plaintiff was informed by BANK OF AMERICA that they
15         were closing his account. BANK OF AMERICA provided no further
16         explanation for their actions.
17   27. BANK OF AMERICA closed Plaintiff’s account and Plaintiff believed that
18         was the end of the matter. At no point in time did BANK OF AMERICA
19         provide notice to Plaintiff of any derogatory credit reporting concerning fraud.
20   28. Plaintiff went to open another account with a different bank and was
21         summarily denied without explanation.
22   29. Plaintiff promptly went back to BANK OF AMERICA and was informed by
23         BANK OF AMERICA that they would not discuss the account and that
24         Plaintiff must contact CHEX SYSTEMS.
25   30. Plaintiff promptly contacted CHEX SYSTEMS as instructed by BANK OF
26         AMERICA but Plaintiff was informed by CHEX SYSTEMS that he had
27         “no record” with CHEX SYSTEMS.
28   ///


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1    31. Plaintiff checked his credit with other credit reporting agencies but no
2         derogatory information had been reported with regards to the BANK OF
3         AMERICA account.
4    32. Plaintiff continued this process of being denied a bank account and credit by
5         other banks and subsequently disputing the issue with BANK OF AMERICA
6         only to be referred to CHEX SYSTEMS who would in turn state they have
7         “no record” pertaining to Plaintiff.
8    33. Despite continuous and diligent efforts, Plaintiff was unable to discover who
9         was responsible for his denials of credit and inability to obtain a bank account.
10        Plaintiff would later discover this was the result of Defendants’ deliberate
11        efforts to conceal that information.
12   34. On October 7, 2015, Plaintiff again attempted to open a bank account with
13        Wells Fargo Bank and was denied. Initially, the bank teller refused to give any
14        explanation as to why Plaintiff had been denied, just as had happened every
15        other time in the past.
16   35. However, this time was different. At this time Plaintiff was battling late-stage
17        colon cancer and Plaintiff begged for an explanation. The bank teller, who’s
18        mother was a breast cancer survivor, empathetically give Plaintiff a printout of
19        the information BANK OF AMERICA had reported to CHEX SYSTEMS.
20        [See Credit Report, Exhibit 1].
21   36. The bank teller explicitly stated that the information contained in the Credit
22        Report was what BANK OF AMERICA had reported to CHEX SYSTEMS.
23   37. The Credit Report the bank teller provided Plaintiff is actually only a portion
24        of the entire report. When the teller gave Plaintiff the Credit Report the teller
25        cut off the remainder of the page. On the remainder of the page the words
26        “DO NOT SHOW TO CUSTOMER” appeared twice in large bold lettering.
27   38. The bank teller stated he cut off said portions of the Credit Report because he
28        feared reprisal from BANK OF AMERICA and his employer.


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1    39. Plaintiff alleges thereon that Defendants not only willfully concealed the
2         information that had been reported on Plaintiff’s credit but also instructed
3         others, including Wells Fargo Bank, to withhold the credit information that
4         had been reported on Plaintiff’s credit.
5    40. Plaintiff further alleges that Defendants’ willful and deliberate concealment of
6         this information prevented the discovery of the unlawful conduct of
7         Defendants and the inaccurate and incomplete credit information reported on
8         Plaintiff credit.
9    41. October 7, 2015 was the first time Plaintiff discovered the conduct
10        complained of herein and the credit information furnished by BANK OF
11        AMERICA. Moreover, the only reason Plaintiff did in fact discover this
12        information was because a bank teller sympathetically disregarded
13        Defendants’ specific instructions not to provide such information to Plaintiff.
14        If not for the bank teller’s actions Plaintiff would have never discovered this
15        information.
16   42. The Credit Report (Exhibit 1) unequivocally states the reporting party was
17        “Bank of America.” Additionally, the Wells Fargo Bank teller stated that the
18        Credit Report was from “Chex Systems.”
19   43. As stated in the Credit Report, BANK OF AMERICA furnished information
20        to CHEX SYSTEMS, a consumer credit reporting agency, as follows:
21
                   Negative Information Early Warning – Provide Adverse
22                 Action Notice
                     • Fraudulent Record – Do Not Open Opportunity
23
                         Acct or Any Other Acct
24                   • Fraudulent Activity
                     • Reported 03/17/2010 Bank of America
25
                     • Michael P Stednitz TIN [xxx]-[xx]-[xxxx]
26                   [See Exhibit 1].
27   44. Plaintiff alleges on information and belief that BANK OF AMERICA has
28        continued to report such information on a monthly basis through the date of


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1         filing this action.
2    45. The information BANK OF AMERICA furnished was inaccurate and/or
3         incomplete because: (1) reporting “fraudulent activity” on Plaintiff’s account
4         implies that Plaintiff was involved in fraudulent activity and he was not
5         involved in any such activity; (2) Plaintiff did not make any knowing
6         misrepresentation or knowingly conceal a material fact to induce another to
7         act to their detriment; therefore, Plaintiff did not engage in any “fraudulent
8         activity;” (3) the report does not state that Plaintiff was the one who
9         voluntarily reported the issue to BANK OF AMERICA; (4) the report does
10        not state that Plaintiff was the victim of the “fraudulent activity” (if any such
11        activity occurred); and (5) there are no grounds to advise other banks not to
12        open an account with Plaintiff because Plaintiff did not engage in any
13        fraudulent activity or any other wrongdoing.
14   46. BANK OF AMERICA knew or should have known the information they
15        furnished was inaccurate and/or incomplete from their own business records
16        pertaining to Plaintiff’s account; any investigation conducted by BANK OF
17        AMERICA; Plaintiff’s initial reporting of the accounting issue; and Plaintiff’s
18        disputes lodged with BANK OF AMERICA.
19   47. Through this conduct, BANK OF AMERICA violated Cal. Civ. Code §
20        1785.25(a) by furnishing information to a consumer credit reporting agency
21        that Defendant knew, or should have known, was inaccurate and/or
22        incomplete.
23   48. On November 17, 2015, Plaintiff sent a written credit dispute and request for
24        investigation to CHEX SYSTEMS and that dispute was received on or before
25        November 23, 2015. [See Chex Systems Credit Dispute, Exhibit 2].
26   49. On November 17, 2015, Plaintiff sent a written credit dispute and request for
27        investigation to Equifax and that dispute was received on or before November
28        21, 2015. [See Equifax Credit Dispute, Exhibit 3].


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1    50. On November 17, 2015, Plaintiff sent both the Chex Systems and Equifax
2         credit disputes to BANK OF AMERICA and said disputes were received on
3         or before November 21, 2015. [See Bank of America Credit Disputes, Exhibit
4         4].
5    51. Plaintiff alleges on information and belief, that BANK OF AMERICA failed
6         to respond in any meaningful way to Plaintiff’s disputes and similarly failed to
7         conduct any investigation in response to Plaintiff’s disputes. Instead, BANK
8         OF AMERICA merely sent Plaintiff a letter apologizing for “any
9         inconvenience” their erroneous credit reported had caused Plaintiff. [See Bank
10        of America Response Letter, Exhibit 5].
11   52. On December 29, 2015, Plaintiff again applied for a bank account and credit
12        card with BANK OF AMERICA and was summarily denied because of the
13        erroneous credit information that was still being reported by BANK OF
14        AMERICA. [See Credit Denial Letter, Exhibit 6].
15   53. Through this conduct, BANK OF AMERICA violated: (i) 15 U.SC. § 1681s-
16        2(b)(1)(A) by failing to conduct an investigation with respect to the disputed
17        information; (ii) 15 U.SC. § 1681s-2(b)(1)(B) by failing to review all relevant
18        information proved by the consumer reporting agency pursuant to 15 U.SC. §
19        1681i(a)(2); (iii) 15 U.SC. § 1681s-2(b)(1)(C) by failing to report the results
20        of the investigation to the consumer reporting agency; (iv) 15 U.SC. § 1681s-
21        2(b)(1)(D) by failing to report the incomplete or inaccurate information to all
22        other consumer reporting agencies; and (v) 15 U.SC. § 1681s-2(b)(1)(E) by
23        failing to modify, delete, or block inaccurate or incomplete information
24        disputed by a consumer.
25   54. On or before May 7, 2015, Plaintiff contacted CHEX SYSTEMS in attempt to
26        discover why he was being denied credit and the ability to open a bank
27        account. On May 7, 2015, CHEX SYSTEMS sent Plaintiff a letter stating “No
28        information” had been reported to CHEX SYSTEMS pertaining to Plaintiff’s


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1          credit. [See May 7, 2015 Letter From Chex Systems, Exhibit 7].
2     55. However, that representation by CHEX SYSTEM was patently false as the
3          information contained in the Credit Report (Exhibit 1) was reported by BANK
4          OF AMERICA to CHEX SYSTEMS.
5     56. On or before October 22, 2015, Plaintiff contacted CHEX SYSTEMS in
6          attempt to discover why he was being denied credit and the ability to open a
7          bank account. On October 22, 2015, CHEX SYSTEMS sent Plaintiff a letter
8          stating “No information” had been reported to CHEX SYSTEMS pertaining to
9          Plaintiff’s credit. [See October 22, 2015 Letter From Chex Systems, Exhibit
10         8].
11    57. However, that representation by CHEX SYSTEM was again patently false as
12         the information contained in the Credit Report (Exhibit 1) was reported by
13         BANK OF AMERICA to CHEX SYSTEMS.
14    58. On November 17, 2015, Plaintiff sent a written credit dispute and request for
15         investigation to CHEX SYSTEMS and that dispute was received on or before
16         November 23, 2015. [See Chex Systems Credit Dispute, Exhibit 2].
17    59. On November 27, 2015, CHEX SYSTEMS sent Plaintiff a letter in response
18         to his credit dispute. [See Chex Systems’ Response Letter, Exhibit 9].
19    60. In CHEX SYSTEMS’ response to Plaintiff’s credit dispute it states that:
20                 Your correspondence included a dispute regarding Bank
21                 of America. Please be informed that your consumer file
                   at Chexsystems does not currently contain information
22                 submitted by that institution, therefore, we were unable
23                 to take any action at this time.
24    61. CHEX SYSTEMS’ Response Letter is the third instance in which it falsely
25         claims BANK OF AMERICA has not reported any credit information to it
26         regarding Plaintiff. Of particular note is the fact the Credit Report displaying
27         the information reported by BANK OF AMERICA to CHEX SYSTEMS is
28         dated October 7, 2015; however, both before and after that date CHEX

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1           SYSTEM falsely claims in writing that “no information” has been reported to
2           it by BANK OF AMERICA.
3     62. On this basis, Plaintiff further alleges Defendants, both individually and
4           collectively, intentionally concealed their unlawful actions and withheld the
5           information BANK OF AMERICA had reported to CHEX SYSTEMS.
6     63. Additionally, CHEX SYSTEMS’ Response Letter clearly states that it will not
7           “take any action” in response to Plaintiff’s credit dispute. Plaintiff thereon
8           alleges that CHEX SYSTEMS took no action nor conducted any investigation
9           in response to Plaintiff’s credit dispute.
10    64. Through this conduct, CHEX SYSTEMS violated: (i) 15 U.S.C §1681i by
11          failing to conduct a reasonable reinvestigation with respect to the Plaintiff’s
12          credit dispute; and (ii) 15 U.S.C. § 1681e(b) by failing to take action to ensure
13          the “maximum possible accuracy of the information” contained in consumer’s
14          credit report.
15    65.   Defendants’ conduct alleged herein has caused Plaintiff damages including,
16          but not limited to, loss of credit worthiness, credit standing, credit capacity,
17          loss of employment and associated benefits, physical and emotional distress,
18          and denial of credit.
19             FIRST CAUSE OF ACTION FOR WILLFUL VIOLATIONS OF
20                   THE FAIR CREDIT REPORTING ACT (“FCRA”)
21                                  15 U.S.C. § 1681, ET SEQ.
22                              [AGAINST ALL DEFENDANTS]
23    66. Plaintiff incorporates by reference all of the above paragraphs of this
24          Complaint as though fully stated herein.
25    67. The foregoing acts and omissions of Defendants constitute numerous and
26          multiple knowing and/or willful violations of the FCRA, including but not
27          limited to each and every one of the above-cited provisions of 15 U.S.C. §
28          1681, et seq.


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1     68. As a result of each and every willful violation of the FCRA, Plaintiff is
2           entitled to actual damages or statutory damages of not less than $100.00 and
3           not more than $1,000.00, from each defendant, pursuant to 15 U.S.C. §
4           1681n(a)(1)(A); punitive damages as the court may allow pursuant to 15
5           U.S.C. § 1681n(a)(2); and reasonable attorney’s fees and costs pursuant to 15
6           U.S.C. § 1681n(a)(3).
7           SECOND CAUSE OF ACTION FOR NEGLIGENT VIOLATIONS OF
8                   THE FAIR CREDIT REPORTING ACT (“FCRA”)
9                                15 U.S.C. § 1681, ET SEQ.
10                             [AGAINST ALL DEFENDANTS]
11    69. Plaintiff incorporates by reference all of the above paragraphs of this
12          Complaint as though fully stated herein.
13    70. The foregoing acts and omissions of Defendants constitute numerous and
14          multiple negligent violations of the FCRA, including but not limited to each
15          and every one of the above-cited provisions of 15 U.S.C. § 1681, et seq.
16    71. As a result of each and every negligent violation of the FCRA, Plaintiff is
17          entitled to actual damages pursuant to 15 U.S.C. § 1681o(a)(1); and
18          reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1681o(a)(2).
19                  THIRD CAUSE OF ACTION FOR VIOLATIONS OF
20      THE CALIFORNIA CONSUMER CREDIT REPORTING AGENCIES ACT
21                   (“CCRAA”) CAL. CIV. CODE § 1785, ET SEQ.
22                            [AGAINST BANK OF AMERICA]
23    72.   Plaintiff incorporates by reference all of the above paragraphs of this
24          Complaint as though fully stated herein.
25    73.   The foregoing acts and omissions constitute numerous and multiple
26          violations of the CCRAA.
27    74.   In the regular course of its business operations, Defendant routinely furnishes
28          information to consumer credit reporting agencies pertaining to transactions


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1           between Defendant and consumers, so as to provide information to a
2           consumer’s credit worthiness, credit standing, and credit capacity.
3     75. The cause of action stated herein pertain to Plaintiff’s “consumer credit
4           report” as that term is defined by Cal. Civ. Code § 1785.3(c), in that
5           inaccurate credit information was furnished by Defendant to a “consumer
6           credit reporting agency,” as that term is defined by Cal. Civ. Code §
7           1785.3(d), regarding specific transactions and/or experiences pertaining to
8           Plaintiff and Plaintiff’s credit worthiness, credit standing, and credit capacity.
9           Such credit information was used or was expected to be used, or collected in
10          whole or in part, for the purposes of serving as a factor in establishing
11          Plaintiff’s eligibility for, among other things, credit to be used primarily for
12          personal, family, household and employment purposes.
13    76.   Because Defendant is a partnership, corporation, association, or other entity,
14          and is therefore a “person” as that term is defined by Cal. Civ. Code §
15          1785.3(j), Defendant is and always was obligated not to furnish information
16          on a specific transaction or experience to any consumer credit reporting
17          agency if Defendant knows or should have known that the information is
18          incomplete or inaccurate, as required by Cal. Civ. Code § 1785.25(a).
19                           FOURTH CAUSE OF ACTION FOR
20      INTENTIONAL INTERFERENCE WITH CONTRACTUAL RELATIONS
21                             [AGAINST BANK OF AMERICA]
22    77.   Plaintiff incorporates by reference all of the above paragraphs of this
23          Complaint as though fully stated herein.
24    78.   The foregoing acts and omissions constitute numerous and multiple instances
25          of intentional interference with contractual relations. Plaintiff alleges
26          Defendant’s conduct was oppressive, fraudulent, and/or malicious and that
27          Defendant engaged in such conduct with the intent of injuring Plaintiff.
28    79.   At the time of Defendant’s conduct, a valid contract existed between Plaintiff


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1           and his former employer.
2     80.   Defendant knew, or should have known, of this contract as Plaintiff deposited
3           checks from his employer in his checking account maintained by Defendant.
4     81.   Defendant intended to interfere with the contract as Defendant intentionally
5           and falsely reported Plaintiff as having engaged in “fraudulent activity” and
6           specifically instructed other financial intuitions not to conduct business with
7           Plaintiff. Specifically, Defendant instructed other financial intuitions “Do Not
8           Open Opportunity Acct or Any Other Acct.” [See Exhibit 1].
9     82.   Defendant’s conduct caused a breach of contract and/or a disruption of the
10          contractual relationship. Plaintiff’s employer’s bank was notified of the
11          information reported by BANK OF AMERICA to CHEX SYSTEMS and
12          informed Plaintiff they would no longer conduct any business with him
13          whatsoever. Overseeing payroll and other financial matters was an essential
14          part of Plaintiff’s duties with his employer and his inability to perform these
15          tasks resulted the loss of Plaintiff’s employment contract.
16    83.   As a result of Defendant’s conduct Plaintiff is entitled to compensatory
17          damages pursuant to Cal. Civ. Code § 3333; and punitive damages pursuant
18          to Cal. Civ. Code § 3294, according to proof.
19                            FIFTH CAUSE OF ACTION FOR
20               INTENTIONAL INTERFERENCE WITH PROSPECTIVE
21                                ECONOMIC RELATIONS
22                            [AGAINST BANK OF AMERICA]
23    84.   Plaintiff incorporates by reference all of the above paragraphs of this
24          Complaint as though fully stated herein.
25    85.   The foregoing acts and omissions constitute numerous and multiple instances
26          of intentional interference with prospective economic relations. Plaintiff
27          alleges Defendant’s conduct was oppressive, fraudulent, and/or malicious and
28          that Defendant engaged in such conduct with the intent of injuring Plaintiff.


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1     86.   At the time of Defendant’s conduct, Plaintiff had an existing relationship
2           with his employer and his employer’s bank that was likely to procedure
3           economic benefits in the future.
4     87.   Defendant knew, or should have known, of these relationships as Plaintiff
5           deposited checks from his employer in his checking account maintained by
6           Defendant.
7     88.   Defendant intended to interfere with these relationships as Defendant
8           intentionally and falsely reported Plaintiff as having engaged in “fraudulent
9           activity” and specifically instructed other financial intuitions not to conduct
10          business with Plaintiff. Specifically, Defendant instructed other financial
11          intuitions “Do Not Open Opportunity Acct or Any Other Acct.” [See Exhibit
12          1].
13    89.   Defendant’s conduct disrupted said relationships. Plaintiff’s employer’s bank
14          was notified of the information reported by BANK OF AMERICA to CHEX
15          SYSTEMS and informed Plaintiff they would no longer conduct any business
16          with him whatsoever. Overseeing payroll and other financial matters was an
17          essential part of Plaintiff’s duties with his employer and his inability to
18          perform these tasks resulted the loss of Plaintiff’s employment.
19    90.   As a result of Defendant’s conduct Plaintiff is entitled to compensatory
20          damages pursuant to Cal. Civ. Code § 3333; and punitive damages pursuant
21          to Cal. Civ. Code § 3294, according to proof.
22                                  PRAYER FOR RELIEF
23    WHEREFORE, Plaintiff prays that judgment be entered against Defendants,
24    according to such causes of action stated against each Defendant, as follows:
25          • As a result of Defendants’ willful violations of 15 U.S.C. § 1681, et seq.,
26                an award of actual damages, in an amount to be determined at trial, or
27                statutory damages of not less than $100 and not more than $1,000, from
28                each defendant, pursuant to 15 U.S.C. § 1681n(a)(1)(A); an award of


      COMPLAINT FOR DAMAGES                                                    PAGE 15 OF 17  
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1              punitive damages, as the Court may allow, pursuant to 15 U.S.C.
2              1681n(a)(3); and an award of costs of litigation and reasonable
3              attorney’s fees, pursuant to 15 U.S.C. § 1681n(a)(3);
4           • As a result of Defendants’ negligent violations of 15 U.S.C. § 1681, et
5              seq., an award of actual damages, in an amount to be determined at trial,
6              pursuant to 15 U.S.C. § 1681o(a)(1); and an award of costs of litigation
7              and reasonable attorney’s fees pursuant to 15 U.S.C. § 1681o(a)(1);
8           • An award of actual damages, in an amount to be determined at trial,
9              pursuant to Cal. Civ. Code § 1785.31(a) and 1785.31(a)(2)(A);
10          • An award of statutory damages of $5,000.00 per violation pursuant to
11             Cal. Civ. Code § 1785.31(a)(2)(B);
12          • An award of costs of litigation and reasonable attorney’s fees, pursuant
13             to Cal. Civ. Code § 1785.31(a)(1) and 1785.31(a)(2)(A);
14          • Compensatory damages pursuant to Cal. Civ. Code § 3333;
15          • Punitive damages pursuant to Cal. Civ. Code § 3294;
16          • That the Court preliminarily and permanently enjoin Defendants from
17             engaging in the unlawful credit reporting practices stated herein; and
18          • Any and all other relief that this Court deems just and proper.
19
20    Dated: April 8, 2016                        Respectfully submitted,
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                                                  SINNETT LAW, APC.
22
23                                            BY: /S/ WAYNE A. SINNETT .
                                                 WAYNE A. SINNETT, ESQ.
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                                                 ATTORNEY FOR PLAINTIFF
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      COMPLAINT FOR DAMAGES                                                 PAGE 16 OF 17  
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1                                      TRIAL BY JURY
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      91.   Pursuant to the Seventh Amendment in the Constitution of the United States
3
            of America, Plaintiff is entitled to, and demands, a trial by jury.
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      Dated: April 8, 2016                          Respectfully submitted,
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7                                                   SINNETT LAW, APC.
8
                                                BY: /S/ WAYNE A. SINNETT .
9                                                  WAYNE A. SINNETT, ESQ.
10                                                  ATTORNEY FOR PLAINTIFF

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